           Case 1:13-cv-00535-RCL Document 16-1 Filed 10/23/13 Page 1 of 4




                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


FBR CAPITAL MARKETS & CO.,

                                   Petitioner,

          v.                                                   Civil No. 13-00535 (RCL)

PETER D. HANS,

                                   Respondent.


                DECLARATION OF ROBERT R. VIETH IN SUPPORT OF
            RESPONDENT’S MOTION FOR ATTORNEYS FEES AND EXPENSES

          1.        My name is Robert R. Vieth. I am a partner in Leach Travell Britt pc (“Leach

Travell Britt”), a law firm based in Tysons Corner, Virginia which I joined as a partner effective

January 1, 2012. I am counsel of record in this matter, and I represented the Respondent Peter

Hans and his former colleague Scott Doyle in their underlying arbitration proceeding against the

Petitioner FBR Capital Markets & Co. (“FBR”). I submit this affidavit in support of

Respondent’s motion for attorneys fees and expenses.


          2.        I am a member in good standing of the bars of the District of Columbia, Virginia

and Maryland. I am a 1984 graduate of the Duke University School of Law. I became a member

of the Virginia bar in 1984, a member of the District of Columbia bar in 1987, and a member of

the Maryland bar in 2003.


          3.        After graduating from law school, I served as a law clerk in this Court for the late

Charles R. Richey, United States District Judge. After my one-year clerkship I became an

associate at Boothe, Prichard & Dudley, which later merged into what is now known as McGuire

Woods LLP (“McGuire Woods”). I practiced at that firm for approximately 14 years, first as an


{LTB‐00047087‐2 }
           Case 1:13-cv-00535-RCL Document 16-1 Filed 10/23/13 Page 2 of 4




associate and later as a partner. In 1999, I left McGuire Woods to join what is now known as

Cooley, LLP (“Cooley”) as a partner. I practiced at Cooley for over 12 years, before I joined

Leach Travell Britt as a partner. I have been engaged in a commercial litigation practice in the

Washington, D.C. area for approximately 28 years.


          4.        Respondent first engaged Leach Travell Britt in December 2011 with respect to

his claim against FBR for a commission on the XL Health transaction. Mr. Hans’ engagement

letter with the law firm is attached as Exhibit A.


          5.        Soon after I joined Leach Travell Britt, I began working on Mr. Hans’ case

against FBR. I was the primary lawyer working on the matter for Mr. Hans, and I was the only

lawyer who appeared in person on his behalf at the underlying arbitration proceeding. That

arbitration hearing took place in the District of Columbia in March 2013.


          6.        Although our firm handled Mr. Hans’ case on a contingency fee basis, I kept

regular billing records of the time I spent on this matter. My billing records for the relevant time

period, after certain adjustments for billing judgment as described in the next paragraph, are

attached as Exhibit B. As can be seen by Exhibit B, I spent a total of 76.7 hours on this matter

specifically relating to FBR’s petition to vacate the arbitration award and Mr. Hans’ motion to

confirm the award, including time spent on this request for an award of attorneys fees and

expenses.


          7.        I have reviewed our firm’s billing records and have made some downward

adjustments to the time recorded on the matter related to the motions described above. These

adjustments, which were made before the final printouts attached as Exhibit B were printed,

including removing one possibly duplicative time entry of 3.7 hours, and other reductions


{LTB‐00047087‐2 }                                    2
           Case 1:13-cv-00535-RCL Document 16-1 Filed 10/23/13 Page 3 of 4




totaling 5.10 hours. The total reductions were made to my time entries, not to those entries by

Mr. Travell. These “billing judgment” adjustments result in a reduction of the amount sought by

Mr. Hans of $3,960.00.


          8.        In connection with FBR’s motion to vacate the arbitration award and Mr. Hans’

corresponding motion to confirm the award, my firm ordered a transcript of the entire arbitration

hearing from the court reporter. This transcript was necessary, in my opinion, to allow the Court

to see more of the testimony than just the excerpts of the transcript that FBR had filed with its

initial petition in this matter. The court reporting firm charged $3,183.51 for the transcript, and

its invoices are attached as Exhibit C. On Mr. Hans’ behalf my firm paid this amount to the

reporting firm.


          9.        During 2013 my normal billing rate has fluctuated between $450 and $495 per

hour. These are the rates our firm actually charges its clients, and the rates at which the clients

have paid their invoices. In my billing records for this matter I recorded my time at the rate of

$450 per hour, and that is the billing rate for my time on which Respondent’s motion for

attorneys fees is based.


          10.       In my opinion the rate of $450 per hour for this case is a reasonable one, given my

experience in commercial litigation matters, the complexity of the case, the sophistication of

FBR, and the quality and experience of opposing counsel. My hourly billing rate of $450 is well

within the Laffey Matrix published by the United States Attorney’s Office for a lawyer with 20

years of experience. A printout of the Laffey Matrix, available on the Justice Department’s

website, is attached as Exhibit D. See

http://www.justice.gov/usao/dc/divisions/Laffey_Matrix_2003-2013.pdf.


{LTB‐00047087‐2 }                                    3
           Case 1:13-cv-00535-RCL Document 16-1 Filed 10/23/13 Page 4 of 4




          11.       When I was a partner at Cooley, which is a much larger law firm than Leach

Travell Britt, my hourly billing rate was significantly higher than $450. The work I performed at

Cooley was commercial litigation, and it was very similar to the work I have performed, at a

considerably lower billing rate, since I have been with Leach Travell Britt, including this case.


          12.       Wayne G. Travell, a founding partner of Leach Travell Britt, also contributed to

Mr. Hans’ case. At times relevant to this motion, Mr. Travell consulted with me on a few

strategic issues in connection with the brief writing, and he finalized and filed one of the briefs

when I was not available. Mr. Travell is a 1982 graduate of the Washington College of Law at

the American University. He practiced for many years at large law firms, including as an

associate and later as a partner at the Washington D.C. law firm Tucker, Flyer & Lewis. Later he

was a partner with the Venable law firm before co-founding Leach Travell Britt in 2003. He has

been engaged in a commercial litigation practice since 1982. Mr. Travell’s time for this matter

was recorded at his normal 2013 hourly billing rate of $485, a rate that is within the Laffey

Matrix for a lawyer of his experience. Mr. Travell recorded 2.5 hours on the case.


          13.       In summary, Mr. Hans is requesting an award of fees in the amount of

$35,727.50, representing 76.7 hours for my time at a rate of $450 per hour ($34,515.00), plus 2.5

hours of Mr. Travell’s time at a rate of $485 per hour ($1,212.50); plus expenses for a transcript

in the amount of $3,183.51. In my opinion, all of these charges are reasonable.


          I declare under penalty of perjury that the foregoing is true and correct.

Executed on October 23, 2013.



                                                 ________________________________
                                                 Robert R. Vieth

{LTB‐00047087‐2 }                                    4
